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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                   Case No. 06-CR-20411-DT

D-1 - RUDOLPH DALRON WILLIAMS,
D-2 - FRANK PIERCE,
D-3 - DARRYL PIERCE,
D-4 - DERRICK YOUNG,
D-5 - CLARENCE JACKSON,

             Defendants.
                                               /

     ORDER APPROVING DISTRIBUTION OF THE GOVERNMENT’S SECOND
        REDACTED VERSION OF DEFENDANT RUDOLPH WILLIAMS’S
                     POST-ARREST STATEMENT

      On March 12, 2008, the court conducted a sealed, on-the-record ex parte

conference with government counsel regarding a post-arrest statement provided to the

police by Defendant Rudolph Williams.1 During this conference, government counsel

accepted the court’s recommendation that the government disclose one additional

paragraph of Williams’s statement to all interested defense counsel, so long as the

names of individuals mentioned in that paragraph remain redacted.2 Accordingly,




      1
       During the February 26, 2008 telephone status conference, Defendants’
attorneys expressed concern regarding the redacted portions of Williams’s statement
and agreed to have the court discuss with government counsel the rationale behind
some of his redactions in a sealed, on-the-record ex parte conference.
      2
        Government counsel also indicated his willingness to disclose the names of the
individuals mentioned in that paragraph at a later date.
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          IT IS ORDERED that the court APPROVES the distribution to all interested

defense counsel the second redacted version of Williams’s post-arrest statement.



                                                                  S/Robert H. Cleland
                                                                 ROBERT H. CLELAND
                                                                 UNITED STATES DISTRICT JUDGE

Dated: March 17, 2008

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, March 17, 2008, by electronic and/or ordinary mail.


                                                                  S/Lisa Wagner
                                                                 Case Manager and Deputy Clerk
                                                                 (313) 234-5522




                                                                     2
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